        Case: 1:10-cv-03410 Document #: 1 Filed: 06/03/10 Page 1 of 2 PageID #:1




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Jennifer Rogan                                      Case No.:
535 Pleasant Dr., Unit 1B
Glenwood, IL 60425

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
Allied Interstate, Inc.
c/o CT Corporation System
208 S. LaSalle St., Suite 814                        JURY DEMAND ENDORSED HEREIN
Chicago, IL 60604

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6).

3. As described below, Defendant attempted to collect a debt from Plaintiff allegedly owed to

     HSBC, which is a “debt” as defined by 15 U.S.C. §1692a(5).

4. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

5. On or around May 11, 2010, Defendant’s employee telephoned Plaintiff’s great-uncle in

     connection with the collection of the debt.

6. During this communication, Defendant’s employee stated that Plaintiff owed a debt and that

     Defendant was a collection agency.




                                                     1
       Case: 1:10-cv-03410 Document #: 1 Filed: 06/03/10 Page 2 of 2 PageID #:2




7. At the time of this communication, Defendant already had Plaintiff’s home telephone

    number.

8. Defendant caused Plaintiff emotional distress.

                                            COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

9. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

10. Defendant violated 15 U.S.C. § 1692c(b) by communicating with a third party in connection

    with the collection of the debt.

                                          JURY DEMAND

11. Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

12. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

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